Case 2:05-md-01657-EEF-DEK Document 13285-2 Filed 01/28/08 Page 1of3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Co., Inc., Docket Number: 2:06-cv-1426;
and only regarding Gerald Quebedeaux.

In re: Vioxx® * MDL Docket No. 1657

*
PRODUCTS LIABILITY * SECTION L
LITIGATION *

* JUDGE FALLON
This document relates to: *

* MAGISTRATE JUDGE
Gerald Quebedeaux, et al. v. Merck & * KNOWLES

*

*

*

*

woe ke Re Rk wk oe OK OR RR ek KR OR Ww eR

STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Plaintiff, Gerald Quebedeaux and Defendant, Merck & Co., Inc. hereby stipulate,
pursuant to Fed. R. Civ. Proc. 41(a)(1), to a dismissal without prejudice all of their claims
against Merck & Co., Inc. in the above-styled lawsuits, each party to bear its own costs, subject
to the following conditions:

1. Gerald Quebedeaux agrees that, in the event they or a representative on their
behalf re-file a lawsuit against Merck that contains claims relating to Vioxx®, they will so do
only in the United States District Court in the Eastern District of Louisiana, without joining any
parties whose joinder would defeat diversity jurisdiction pursuant to 28 U.S.C. § 1332, and shall
not oppose transfer to MDL 1657; and

2. Plaintiffs further agree that in the event they re-file such lawsuit, any discovery
that has taken place or will take place in Jn re: Vioxx® Products Liab. Litig. (MDL-1657), the

MDL proceeding that has been established in the United States District Court for the Eastern

District of Louisiana, and that is not specific to a particular plaintiff, can be used in any such

Case 2:05-md-01657-EEF-DEK Document 13285-2 Filed 01/28/08 Page 2 of 3

lawsuit re-filed by said plaintiff, as though they had been a party and had. had an opportunity to
participate in that discovery.

3. Further, in compliance with Pre-Trial Order No. 8B, undersigned counsel hereby
certify that as soon as the Order of Dismissal is entered by the Court Defendants’ Liaison
Counsel will make the change directly on File & Serve to reflect the dismissal without prejudice
of the claims of this Plaintiff against Merck & Co., Inc., in the above-captioned case.

4, The claims of the remaining plaintiffs shall remain in full force and effect.

Respectfully submitted,
ROBERT ALIM

5 Lilet Me

Robert L. Salim, (#11663)
Attorney at Law

1762. Texas Street
Natchitoches, LA 71457
Phone: 318-352-5999

Counsel for Plaintiffs, Gerald Quebedeaux,
et al.

Case 2:05-md-01657-EEF-DEK Document 13285-2 Filed 01/28/08 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal Without
Prejudice has been served on Liaison Counsel, Russ Herman and Phillip Wittmann, by U.S. Mail
and e-mail or by hand delivery and e-mail and upon all parties by electronically uploading the
same to LexisNexis File & Serve Advanced in accordance with Pre-Trial Order No. 8B, and that
the foregoing was electronically filed with the Clerk of Court of the United States District Court
for the Eastern District of Louisiana by using the CM/ECF system which will send a Notice of

Electronic Filing in accord with the procedures established in MDL 1657, on this Z G. day of

bed he

Cau, cy , 2008.

‘OF COUNSEL

